                                                      U.S. Department of Justice

                                                      United States Attorney
                                                      Southern District of New York
                                                      The Silvio J. Mollo Building
                                                      One Saint Andrew’s Plaza
                                                      New York, New York 10007



                                                      July 5, 2020

VIA ECF

The Honorable Alison J. Nathan
United States District Court
Southern District of New York
United States Courthouse
40 Foley Square
New York, New York 10007

       Re:     United States v. Ghislaine Maxwell, 20 Cr. 330 (AJN)

Dear Judge Nathan:

        The Government respectfully submits this letter to request that the Court schedule an
arraignment, initial appearance, and bail hearing in the above referenced case. On July 2, 2020,
the defendant was arrested in Bradford, New Hampshire on the charges contained in the above-
captioned Indictment and presented before a United States Magistrate Judge in the District of New
Hampshire. At that appearance, the defendant waived her right to an identity hearing, consented
to detention without prejudice to making a later application for bail, and consented to her transfer
to the Southern District of New York.

        While the Government has no control over the timing of the defendant’s transport, the
Government understands from the United States Marshals Service (“USMS”) that the USMS is
acting expeditiously to transport the defendant into this District. In particular, the Government
understands that the USMS expects that the defendant will arrive in this District early this week,
well within the ten days contemplated by the Speedy Trial Act for transfer of a defendant from
another district. See 18 U.S.C. § 3161(h)(1)(F).

         The Government has consulted with defense counsel, Christian Everdell, Esq., who has
requested that the arraignment, initial appearance, and bail hearing in this matter take place on July
10, 2020. In advance of that proceeding, the parties jointly request that the defense be permitted
to file a written bail application to the Court by 3:00 p.m. on July 9, 2020, and that the Government
be permitted to file a written reply by 12:00 p.m. on July 10, 2020. If that schedule is acceptable
to the Court, the parties respectfully request that the Court schedule an arraignment, initial
appearance, and bail hearing in this matter for the afternoon of July 10, 2020.

         Additionally, the Government respectfully requests that the Court exclude time under the
Speedy Trial Act between the defendant’s arrest on July 2, 2020 and the date of the arraignment,
initial appearance, and bail hearing before Your Honor. In addition to part of this time being
necessary to transport the defendant to this District, and thus subject to an automatic exclusion of
up to ten days from Speedy Trial Act calculation, see 18 U.S.C. § 3161(h)(1)(F), the Government
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also intends to use the time until any initial appearance before Your Honor to discuss the terms of
a protective order with defense counsel. Such a protective order will be necessary to facilitate the
production of discovery while also protecting, among other things, the privacy and identity of third
parties, including victims of the conduct charged in the Indictment. Accordingly, the Government
respectfully requests that the Court exclude time both for the transportation of the defendant from
another district, see 18 U.S.C. § 3161(h)(1)(F), and to allow the parties to engage in discussions
regarding a protective order, which will serve the interests of justice by facilitating the timely
production of discovery in a manner protective of the rights of third parties, including potential
victims. See 18 U.S.C. § 3161(h)(7). The Government has consulted with defense counsel, who
consents to this request.

                                                    Respectfully submitted,

                                                    AUDREY STRAUSS
                                                    Acting United States Attorney


                                              By:
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